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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Meghan Scharringhausen, et al.
                                            Plaintiff,
v.                                                          Case No.: 1:15−cv−06751
                                                            Honorable Jorge L. Alonso
American Coradius International LLC
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 3, 2015:


         MINUTE entry before the Honorable Jorge L. Alonso: A stipulation of dismissal
has been filed. This case is dismissed with prejudice. The status hearing date of 12/10/15
is stricken. Civil Case Terminated. Notice mailed by judge's staff (ntf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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